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                   UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
________________________________________________________________________

United States ex rel. Simpson,                            Case Number: 08cv5758 (MJD/SER)

                                     Plaintiff

v.                                                   ORDER FOR STATUS CONFERENCE

Bayer Corporation,
Bayer A.G.,
Bayer Healthcare Pharmaceuticals, Inc.,

                                     Defendants.
_______________________________________________________________________

STEVEN E. RAU, United States Magistrate Judge.

       The parties are ordered to participate in monthly status conferences via telephone on the

following dates and times:

       February 26, 2019 10:00 a.m.

       March 26, 2019 10:00 a.m.

       April 23, 2019 10:00 a.m.

       May 28, 2019 10:00 a.m.

       June 25, 2019 10:00 a.m.

       July 23, 2019 10:00 a.m.

       August 27, 2019 10:00 a.m.

       September 24, 2019 10:00 a.m.

       October 22, 2019 10:00 a.m.

       November 26, 2019 10:00 a.m.

       Once all parties are on the line together, they are instructed to contact chambers at 651-

848-1620.
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       The parties are ordered to file a joint status report on CM/ECF one week prior to all status

conferences.

       If it is determined at the end of the year that the monthly status conference should continue,

another order with additional dates will be issued.



Dated: January 18, 2019                                      s/ Steven E. Rau
                                                             Steven E. Rau
                                                             U.S. Magistrate Judge
